     Case 2:12-cr-00068 Document 514 Filed on 05/03/12 in TXSD Page 1 of 2




                          UNITED STATES DISTRICT COURT
                       IN THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §
                                                 §           Case No. 2:12-cr-68
ALEJANDRO MARTINEZ (# 20)                        §
CHASTINIQUE KEMP (#26)                           §
ALBERTO RAMON CASTELLANO (#35)                   §



                        ORDER GRANTING CONTINUANCE AND
                               SETTING DEADLINES

        On May 2, 2012, the Court held a hearing in the cases of Defendants Martinez, Kemp,

and Castellano. On Defendant Kemp’s motion, the Court grants a continuance to allow

additional time for review of materials for trial and to allow Defendant Kemp to file further

motions. Accordingly, jury selection will begin on May 15, 2012 at 8:30 a.m. The final pretrial

conference is set for May 14, 2012 at 10:00 a.m. The Ellis Order deadline is set for May 14,

2012.

        Further, the Court was orally advised that it can expect a motion to sever, which it

understands will be unopposed. All motions must be filed by May 7, 2012. Any response by the

government is due May 9, 2012. The Court orders any exculpatory evidence, including any

statements and/or waiver of rights by Defendant Kemp, to be turned over before May 4, 2012 at

noon.

        For the purpose of the efficient administration of justice, Defendants Martinez and

Castellano are joined in the above-set dates.
     Case 2:12-cr-00068 Document 514 Filed on 05/03/12 in TXSD Page 2 of 2




       The Court finds a continuance in this matter is in the interests of justice and outweighs

the best interest of the public and Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7).



               ORDERED this 3rd day of May, 2012.




                                             ____________________________________
                                             HAYDEN HEAD
                                             SENIOR UNITED STATES DISTRICT JUDGE
